Case: 1:11-cv-01370-CAB Doc #: 32-2 Filed: 08/28/13 1 of 15. PageID #: 1065
Case: 1:11-cv-01370-CAB Doc #: 32-2 Filed: 08/28/13 2 of 15. PageID #: 1066
Case: 1:11-cv-01370-CAB Doc #: 32-2 Filed: 08/28/13 3 of 15. PageID #: 1067
Case: 1:11-cv-01370-CAB Doc #: 32-2 Filed: 08/28/13 4 of 15. PageID #: 1068
Case: 1:11-cv-01370-CAB Doc #: 32-2 Filed: 08/28/13 5 of 15. PageID #: 1069
Case: 1:11-cv-01370-CAB Doc #: 32-2 Filed: 08/28/13 6 of 15. PageID #: 1070
Case: 1:11-cv-01370-CAB Doc #: 32-2 Filed: 08/28/13 7 of 15. PageID #: 1071
Case: 1:11-cv-01370-CAB Doc #: 32-2 Filed: 08/28/13 8 of 15. PageID #: 1072
Case: 1:11-cv-01370-CAB Doc #: 32-2 Filed: 08/28/13 9 of 15. PageID #: 1073
Case: 1:11-cv-01370-CAB Doc #: 32-2 Filed: 08/28/13 10 of 15. PageID #: 1074
Case: 1:11-cv-01370-CAB Doc #: 32-2 Filed: 08/28/13 11 of 15. PageID #: 1075
Case: 1:11-cv-01370-CAB Doc #: 32-2 Filed: 08/28/13 12 of 15. PageID #: 1076
Case: 1:11-cv-01370-CAB Doc #: 32-2 Filed: 08/28/13 13 of 15. PageID #: 1077
Case: 1:11-cv-01370-CAB Doc #: 32-2 Filed: 08/28/13 14 of 15. PageID #: 1078
Case: 1:11-cv-01370-CAB Doc #: 32-2 Filed: 08/28/13 15 of 15. PageID #: 1079
